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IN THE UNITED STATES DISTRICT COURT ‘H'-ED BY --~D-C-
FOR THE wESTERN DISTRICT OF TENNESSEE
wESTERN DIVISION 05 AUG `~5 PH h= 32
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LUTRICIA BARNETT BUCKLEY, as
Administratrix of the Estate
of DENVEY BUCKLEY, for the use
and benefit of KATRINA and
LATRICE BUCKLEY, as Next of
Kin and Heirs at law of DENVEY
BUCKLEY, deceased

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Plaintiff,

V. No. 03-2874 DP
CITY OF MEMPHIS, THE CITY OF
MEMPHIS POLICE DIVISION,
OFFICER PHILLIP PENNY, OFFICER
KURTIS SCHILK, and OFFICER
ROBERT T. TEBBETTS,
individually and in their
Representative Capacities as
City of Memphis Police
Division Officers,

VvVVVVVWVVVVVVVVvWVVV`/Vv

Defendants.

 

ORDER GRANTING PLAINTIFF’S MOTION TO COMPEL DEFENDANT CITY OF
MEMPHIS TO DESIGNATE A REPRESENTATIVE FOR DEPOSITION REGARDING
THE MEMPHIS POLICE DEPARTMENT’S POLICY AND PROCEDURE MANUAL

 

Before the court is Plaintiff Lutricia Barnett Buckley's
Motion to Compel Defendant City of Memphis to Designate a
Representative for Deposition Regarding the Memphis Police
Department's Policy and Procedure Manual, filed on May 10, 2005
(dkt #135). Defendant City of Memphis (the “City”) responded on

May 27, 2005. For the following reasons, the Plaintiff’s motion is
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GRANTED.

I. BACKGROUND

Plaintiff Lutricia Barnett Buckley (“Plaintiff”) is the ex-
wife and custodial parent of Katrina Buckley and Nicole Buckley,
minors, the natural children and alleged sole heirs at law of the
decedent, Denvey Buckley (“Buckley”). Buckley had a nonviolent
history of mental illness and was diagnosed as schizophrenic.

According to the 4plaintiff, on. April 19, 2002, Buckley's
friends and family placed several “911” calls to the Memphis Police
Department (“MPD”) to report that Buckley had cut his wrists at his
home. When the individual defendants arrived on the scene, Buckley
was unarmed and seated on his front porch with towels wrapped
around his wrists. The knife that he used was inside his home.

After assessing the situation, the individual defendants
decided to prevent Buckley from returning inside his home and
started to surround him. Buckley became agitated at the sight of
several uniformed officers converging. Buckley attempted to return
inside, but the officers forcibly restrained him. The individual
defendants used their batons, allegedly hitting Buckley’s head,
neck, and torso. An officer of the MPD Crisis Intervention Team
arrived during the altercation. Buckley got up from the porch and
began to run toward the street, where the individual defendants
allegedly sprayed him with pepper spray, tackled him, handcuffed

him, and continued to beat him with batons.

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Plaintiff contends that emergency medical technicians arrived
on the scene and allegedly' waited for a few minutes as the
individual defendants beat Buckley. When Buckley became
unresponsive, the EMTs diagnosed Buckley with cardiac arrest and
unsuccessfully attempted resuscitative measures. Buckley' was
declared dead on arrival at a nearby emergency room.

Plaintiff alleges that individual officers used excessive
force while seizing Buckley in violation of his constitutional
rights. She also alleges that the City has a policy or practice of
failing to supervise, discipline, and train its police officers,
which violated Buckley’s constitutional rights.

On December 20, 2004, Plaintiff sent a Rule 30(b)(6) request
to the City to depose someone with knowledge of the drafting of the
Policy and Procedure Manual with respect to sections concerning the
use of restraint devices, the use of pepper spray, and the
requirement that officers monitor a suspect's physical condition.
Because the City has not designated anyone for this deposition,
Plaintiff seeks an order requiring the City to do so. The City
argues that the information. sought in this deposition. is not
reasonably' calculated to lead to the discovery' of admissible
evidence. In addition, by stating that it has produced sixteen

individuals for deposition and produced more than seven thousand

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documents, the City implicitly argues that this deposition would be
duplicative of discovery already obtained and that the plaintiff
has had ample opportunity to obtain the information.
II. ANALYSIS

“Parties may obtain discovery regarding any matter, not
privileged, that is relevant to the claim or defense of any party

.” Fed. R. Civ. P. 26(b)(1). “Relevant information need not
be admissible at trial if the discovery appears reasonably
calculated to lead to the discovery of admissible evidence.” ;dL
Nevertheless, discovery is not without limits. For example, a
court can limit discovery if it finds that “the discovery sought is
unreasonably cumulative or duplicative” or “the party' seeking
discovery has had ample opportunity by discovery in the action to
obtain the information sought.” Fed. R. Civ. P. 26(b)(2)(i)-(ii).
The party opposing discovery under Rule 26(b)(2) bears the burden
of establishing factors to limit the discovery. Merrill v. Waffle
Housel Inc., 227 F.R.D. 467, 470 (N.D. Tex. 2005); Cory v. Aztec
Steel Bldg., Inc., 225 F.R.D. 667, 670 (D. Kan. 2005).

A plaintiff seeking to impose liability on a nmnicipality
under § 1983 must identify a municipal “policy” or “custom” that

caused the plaintiff’s injury. ee Canton v. Harris, 489 U.S. 378,

 

389 (1989); Pembaur v. Cincinnati, 475 U.S. 469, 480-481 (1986);
Monell v. New York Citv Dept. of Soc. Servs., 436 U.S. 658, 694
(1978). Identifying a “policy” ensures that a municipality is held

liable only for those deprivations resulting from the decisions of

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its duly constituted legislative body or of those officials whose
acts may fairly be said to be those of the municipality. Monell,
436 U.S. at 694. The topics of restraint devices, chemical agents,
and monitoring requirements of a restrained suspect’s condition are
covered in the MPD Policy and Procedure Manual. Plaintiff alleges
that the officers used certain restraints and chemical agents in
violation of Buckley’s rights, and that the officers failed to
appropriately monitor his condition. To the extent the officers’
actions in arresting Buckley were governed by the MPD Policy and
Procedure Manual, and Manual either in whole or in part forms the
policy' or custonl of the City, those issues are relevant for
purposes caf discovery. Similarly, information related tx) the
drafting of the policy and reasons for revising the policy is also
relevant. See O'Brien v. City of Grand Rapids, 23 F.3d 990,
1004-05 (6th Cir. 1994)(identifying the Monell policy established
at trial to be a response plan for critical incident management and
discussing how the plan's development and implementation was
important to the case).

To the extent that the City argues that this 30(b)(6)
deposition would be duplicative and that the plaintiff has had
ample opportunity to obtain the information, the City has not
carried its burden under Rule 26. It has not sufficiently
explained how the information sought has already been produced or
is even similar to information already produced. Likewise, it has

not identified another person already deposed who has testified

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about the Manual. Thus, the City has not met its burden to show
that the discovery would be duplicative or that the plaintiff has
had ample opportunity to obtain the information.
III. CONCLUSION

For the reasons above, the Motion to Compel Defendant City of
Memphis to Designate a Representative for Deposition Regarding the
Memphis Police Department's Policy and Procedure Manual is GRANTED.
The City' shall make its Rule 30(b)(6) designee available for

deposition within twenty (20) days from the date of this order.

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TU M. PHAM
United States Magistrate Judge

IT IS SO ORDERED.

 

 

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Date 5 '

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Notice of Distribution

This notice confirms a copy of the document docketed as number 184 in
case 2:03-CV-02874 Was distributed by fax, mail, or direct printing on
August 8, 2005 to the parties listed.

 

 

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